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——— LODGED —__ RECEIVED Magistrate Judge Brian A. Tsuchida

MAY 02 2017

AT SEATTLE
~ CLERK U.S. DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
BY DEPUTY

 

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. MJ17= {72
Plaintiff MOTION FOR DETENTION
Vv.
ROMAN SELEZNEV,
Defendant.

 

 

The United States moves for pretrial detention of the Defendant, pursuant to 18
U.S.C. 3142(e) and (f)
1. Eligibility of Case. This case is eligible for a detention order because this

case involves (check all that apply):

[] Crime of violence (18 U.S.C. 3156).

O Crime of Terrorism (18 U.S.C. 2332b ()5)B)) with a maximum sentence
of ten years or more.

C] Crime with a maximum sentence of life imprisonment or death.

CJ Drug offense with a maximum sentence of ten years or more.

MOTION FOR DETENTION - 1 UNITED STATES ATTORNEY |

U.S. v. SELEZNEV/MJ17-173 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101

(206) 553-7970

 
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Felony offense and defendant has two prior convictions in the four
categories above, or two State convictions that would otherwise fall within
these four categories if federal jurisdiction had existed.

Felony offense involving a minor victim other than a crime of violence.

Felony offense, other than a crime of violence, involving possession or use
of a firearm, destructive device (as those terms are defined in 18 U.S.C.
921), or any other dangerous weapon.

Felony offense other than a crime of violence that involves a failure to
register as a Sex Offender (18 U.S.C. 2250).

Serious risk the defendant will flee.

Serious risk of obstruction of justice, including intimidation of a
prospective witness or juror.

Reason for Detention. The Court should detain defendant because there

are no conditions of release which will reasonably assure (check one or both):

3.

Defendant’s appearance as required.

Safety of any other person and the community.

Rebuttable Presumption. The United States will invoke the rebuttable

presumption against defendant under 3142(e). The presumption applies because:

L Probable cause to believe defendant committed offense within five years of
release following conviction for a qualifying offense committed while on
"pretrial release. .
L] Probable cause to believe defendant committed drug offense with a
maximum sentence of ten years or more.
LJ Probable cause to believe defendant committed a violation of one of the
following offenses: 18 U.S.C. 924(c), 956 (conspiracy to murder or
kidnap), 2332b (act of terrorism), 2332b(g)(5)(B) (crime of terrorism).
MOTION FOR DETENTION - 2 UNITED STATES ATTORNEY
USS. v. SELEZNEV/MJ17-173 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970

 
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C Probable cause to believe defendant committed an offense involving a
- victim under the age of 18 under 18 U.S.C. 1591, 2241, 2242, 2244(a)(1),
2245, 2251, 2251A, 2252(a)(1) through 2252(a)(3), 2252A(a)(1) through
2252A(a)(4), 2260, 2421, 2422, 2423 or 2425.

4. Time for Detention Hearing. The United States requests the Court

conduct the detention hearing:

Xl At the initial appearance

CL) After a continuance of days (not more than 3)

DATED this 24 day of May, 2017.

Respectfully submitted,

ANNETTE L. HAYES
United States Attorney
<—>

   

 

NORMAN BARBOSA
Y Assistant United States Attorney

MOTION FOR DETENTION - 3 UNITED STATES ATTORNEY

700 STEWART STREET, SUITE 5220
U.S. v. SELEZNEV/MJ17-173 SEATTLE, WASHINGTON 98101

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